Case 2:10-cv-08888-CJB-JCW Document 85342 Filed 04/20/11 Page 1of3

ank kan

e'2:10-mgg2179-CJB-SS Document.983-3 Filed 01/12/11 Page 1 of 3

_ Ek .

9 we IN RE: OIL SPILL by “Deepwater Horizon”

© gel 8" DIRECT FILING SHORT FORM’

~ <\ Aitptied by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc, 982
(Gablés Sfsaid Order having also been filed In Civil Actions No. 10-8688 and 10-2771)
MDL 2179

JUOGE CARL BARBIER
SO ng aI ipa en

oo tera aS oe
claim in Complaint and Petition of Triton Asset Leasing GmbH, ot

ai., No. 10-2771; adopt and incorporate the Master Answer (Rec, Doc, 244] to the Complaint and Patition of Triten
Asset Leasing Gmbh, et 2!., in No. 10-2774; andor Intervene Into, join and othenviae adopt the Master Complaint
Rec, Doc. 879] for private economic tosses ("Bt Bundle”) fited in MOL No. 2179 (10 md 2179); and/or Intervane
Into, Jain and otherwiae adopt tha Master Complaint [Rec. Doc. 881) for post-explosion Injuries ("BS Bundle”)

Lact

Pentima gs SAU Ze |e

Adda oe le OA Cy F

ovside Onve.

INOIVIDUAL GLAIN

” Eimplayer Nama if a |” T Businaes Name <
Job Titie / Dg a ! i af Bual re
Bruooside, D due

———

.

Cty Stee AP | uvia, | A O3Y44

Last 4 digits of your Tax (iD Number

Fmnome The Mediatocs .FPe.

oe pitec, Flacide 33158
.# C>.k¢ cy

Last 4 digits of your Social Security Number

apm. Jos "

Mall Address

Ky NS,
Claim filod wht BF? ves O wo 0 Claim Flled wih GGcF?: YES (J no [)

tt yes, BP Clatm No.: If yeu, Cinknant Kentification Ne.

iain Type (Please check all that apply}:

Damage of destruction to real or personal praparty Fosr of Future injury ano/or Medical Monitoring
GamingaProm Loss ‘oea of Subsistence use of Natural Resources
Personal Injury/Oeath Removal and/or clean-up costs

‘ f

* Thie forn should be filed with the U.S. District Court for the Eastern District of Louisiana in New Orleans, Louisiana In Chul Action No. 10-688€. While this Diract
Filing Short Farm Is to be flied (n CA No, 10-8988, by prior order of tha Court, (Ree. Doe. 246, CA, No, 10-2771 and Rec. Dos. 982 In MDL 2179), the fiting of this form
In CA, No. 10-8886 shail be deemed to ba simultanecusly filed In CA, 20-2771 and MOL 2179, Plaintiff Ualson Counsel, after baing natified electronically by the Clerk
of Court of the fillng of this Shart Form, shail promptly sarva this form through tha hens Naxis cervicg cystem on Defense Liason.

The fing of thie Direct Fiting Short Form shall aise sarve in iteu of the requirement of e Piainti to fue « Plaintit Profte Porn.
Case 2:10-cv-08888-CJB-JCW Document 85342 Filed 04/20/11 Page 2 of 3

‘Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

4. For aamings/profit oss, property damage and lose of subs‘ itence use claims, daecribe the rature of tha injury. For claime
involving real estate/property, Includa the property location, type of property (residential’commercial), and whether physical
damege occurred, For claims ralating to fiahing of any type, Include the type and location of fishing grounda at iaaua.

Wie ere. unalle +o eo he seafood oe

-

r

“ae\\_ the seafnod becuse of the ealluts low
he O\'\ and Coeexi®, tne drspersanrY, wini ik
Apxic poigonons +e humans_and wildlife, PAV maviae
Vile Aa all pilalife on he sslends have been exposes.
XL cannot live IK mu _hovse 26 work, cimuy business

’

Lecuxe of She £ peeuvay\« on, ek ail And goisnes forex ir.

‘2. Kor pargonal injury claims, dereribe the injury. how and when it waa sustained, and identify all health caro providers a

mus

Jet bdp_me Lect , tether mens loss , headache:
and mnracal ah Sta Se wk coordination | mbline
Av eracG AWinaAai sn AIC are Ahad Yol un Visiar. deck.

A :
A For post-explosion claims related to reup lar ramibval, Include your role In the c pinup ctivities, the ndrne of your

ry Cco \nes rye Deope <. marene EINES pod wd 3

Ane. oN mms wore’ Ng art Darn The. 6 \F ud cle
pur shoes and anythi nck Maing adnate is Us.

The filing of this Direct Fiting SI pean chen aise nerve in ofa ofa Praintit? to file = Pteintit Profie Form.

employers 2006 to present and complete authorization forms for each. yyy, te inmay ™
A ye . lke, MNS. ‘Ty athine A. mee 4
: . . - . aes,
yh re Ve ics tb Ac a 1a at OV’ . ” a Oo had Lex
4 , 2‘ treet ‘ ss all over

s oder < Audice, Antler ck SSION , Severe y Wolce.
Case 2:10-cv-08888-CJB-JCW Document 85342. Filed 04/20/11 Page 3 of 3

_ Case 2:10-md-02179-CJUB-SS Document 983-3 Filed 01/12/11 Page 3of3

check the box(es) below that you think apply ta you and yo
POTTER ES al E are i? dP Ae a 2

a

ur

Piease

3 |

claims:

oi!

Gommercial fishermen, shiimper, crabber, or oyaterman, or the owner end oparator of » business invaling fishing, shrimping.
crabbing or oysisring,

Sasfood processor, distributor, retail and seafood mart. of restaurant owner and operator, or an employee Ihereof,

Recreations! buginace owner, oporator or worker, including = recreational fishing business, commercial guide service, of charter
fishing business who eam their living through the use of the Gulf of Maxico.

Commercial business, business awner, operator or worker, Including commercial divars, offshore oliled sanica, repair and
supply, real astate agents, ont supply companias, or an employed there!

Recreational aport fisnarmen, recreational diver, baachgaar, or recreational boaler.

wx
2
3
x
xX
6. Plant and dock worker, including commercial seafnod plant Worker, longshoreman. or ferry operator.
7
Dee
Se,

Owner, ingsor, or lonsoe of real property alleged lo be damaged, harmed or impacted, physieaay or economically, Induding
lessees of oyster beds,

Hotel owner end cperator, vacation rental owner and agert, or aw thase who earn melr living from the touriem Industry,
Bank, financial Inatitution, or retall buainegs that suffered iceses ac a reeull of the aplli,
Wo. Pergon,. who utilizes natural resources for subsistence.
fs

KO. Other: COA, ATTA io Lr . AZe) War Resaurces Loc
Crualtn of The, hewing lotras wildlife and iFe. pr
Post-Explosion Persona ul Medical Monltonng, ang Prope Dam

Boat captain or crew Involved in tha Veusela of Opportunity program.
Worker Involved in decontaminating veasela Inet came into contact with off and/or chemical dispersanta.

1

2

3. Vessel captain or crew who was not Invaived In the Vassels of Opportunity program but whe ware exposed to harmful chemicals,
odors and emissions during post-explogion clean-up activities.

we

Clean-up worker or beach personnel involved in cloan-up activities along shorelines and Intercoastal and intertidal zonea.

6, Resident whe lives or works in close proximily to coastal waters,
x ee wanlks, Pus, anes te church and

Te. Other: Ts rh : b
rs, Children who att
iF, 7 Are Lent Ses ws 1 oe A we Toe

|
Both BP and the Gulf Coast Claims Facility (‘GCCF") are hereby authorized to release to the Defendants In MDL
2179 all information and documents submitted by above-named Flaintiff and Information regarding the status of any
payment on the claim, subject to euch information being treaad as “Confidential Access Restricted’ under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full coples of same being made available to both
the Platptiff (or his attomey if appligabla) filing this form and PSC through Plaintiff Liaison Counsel.

ato ts Degen fac

Susan Felic Grice

Pant Name

Espo] \4, ZO \\

Oata

a
, The filing of thiz Direct Filing Short Form shall alao serve in fled of ihre requirement of # Plaintiff to file a Plaintiff Profile Form.

mA wearing |i punt B3 pales

